               Case 2:21-cr-00002-RAJ Document 28 Filed 10/12/21 Page 1 of 2




 1                                                                 HON. RICHARD A. JONES
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 7                         UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF WASHINGTON
 8
                                       AT SEATTLE
 9
10    UNITED STATES OF AMERICA,                           No. CR21-002-RAJ
11                             Plaintiff,
12                        v.                              FINAL ORDER OF FORFEITURE
13
      BLAKE KIRVIN,
14
15                             Defendant.
16
17
18          THIS MATTER comes before the Court on the United States’ Motion for Entry of
19 a Final Order of Forfeiture (“Motion”) for the following property (“Subject Firearm”):
20            • One Taurus 44 Special 5-shot revolver bearing serial no. NK148847 and any
21                associated ammunition
22          The Court, having reviewed the United States’ Motion, as well as the other
23 pleadings and papers filed in this matter, hereby FINDS entry of a Final Order of
24 Forfeiture is appropriate because:
25            • On April 23, 2021, the Court entered a Preliminary Order of Forfeiture
26                finding the Subject Firearm forfeitable pursuant to 18 U.S.C. § 924(d)(1), by
27                way of 28 U.S.C. § 2461(c), and forfeiting Defendant’s interest in it,
28                Dkt. No. 20;

     FINAL ORDER OF FORFEITURE - 1                                      UNITED STATES ATTORNEY
                                                                       700 STEWART STREET, SUITE 5220
     United States v. Kirvin, CR21-002-RAJ
                                                                         SEATTLE, WASHINGTON 98101
                                                                               (206) 553-7970
                 Case 2:21-cr-00002-RAJ Document 28 Filed 10/12/21 Page 2 of 2




 1            • Thereafter, the United States published notice of the pending forfeiture as
 2                 required by 21 U.S.C. § 853(n)(1) and Federal Rule of Criminal Procedure
 3                 32.2(b)(6)(C), Dkt. No. 21, and provided direct notice to a potential claimant
 4                 as required by Fed. R. Crim. P. 32.2(b)(6)(A), see Declaration of AUSA
 5                 Jehiel I. Baer in Support of Motion for Entry of a Final Order of Forfeiture,
 6                 ¶ 2, Exhibit A; and
 7            • The time for filing third-party claims has expired, and none were filed.
 8
 9          NOW, THEREFORE, THE COURT ORDERS:
10          1.      No right, title, or interest in the Subject Firearm exists in any party other
11 than the United States;
12        2.     The property is fully and finally condemned and forfeited, in its entirety, to

13 the United States; and
14       3.      The United States Department of Justice, and/or their representatives, are

15 authorized to dispose of the property as permitted by governing law.
16        IT IS SO ORDERED.
17
18          DATED this 12th day of October, 2021.
19
20
                                                        A
21                                                      The Honorable Richard A. Jones
                                                        United States District Judge
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     FINAL ORDER OF FORFEITURE - 2                                         UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     United States v. Kirvin, CR21-002-RAJ
                                                                            SEATTLE, WASHINGTON 98101
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